                         Case #C14-2034-JSS
Case 6:14-cv-02034-JSS Document                            EXHIBIT
                                    70-16 Filed 10/16/15 Page  1 of164PAGE 0001
                         Case #C14-2034-JSS
Case 6:14-cv-02034-JSS Document                            EXHIBIT
                                    70-16 Filed 10/16/15 Page  2 of164PAGE 0002
                         Case #C14-2034-JSS
Case 6:14-cv-02034-JSS Document                            EXHIBIT
                                    70-16 Filed 10/16/15 Page  3 of164PAGE 0003
                         Case #C14-2034-JSS
Case 6:14-cv-02034-JSS Document                            EXHIBIT
                                    70-16 Filed 10/16/15 Page  4 of164PAGE 0004
